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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      :
CITY OF ROSEVILLE EMPLOYEES’                          :
RETIREMENT SYSTEM, Individually and on                :   Civil Action No. 1:20-cv-01822-JGK
Behalf of All Others Similarly Situated,              :
                                                      :
                               Plaintiff,             :   DEFENDANTS’ NOTICE OF
                                                      :   MOTION AND MOTION TO
       vs.                                            :   TRANSFER ACTION TO THE
                                                      :   NORTHERN DISTRICT OF
ALIGN TECHNOLOGY, INC., JOSEPH M.                     :   CALIFORNIA
HOGAN and JOHN F. MORICI,                             :
                                                      :
                               Defendants.            :
                                                      :
                                                      :


TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that defendants Align Technology, Inc., Joseph M. Hogan,

and John F. Morici (collectively, “Defendants”), by and through undersigned counsel, hereby

move the Court for an order transferring this action to the United States District Court for the

Northern District of California, San Jose Division, pursuant to 28 U.S.C. § 1404(a).

       In support of their motion to transfer venue pursuant to section 1404(a), Defendants rely

on Defendants’ Memorandum of Law in Support of Motion to Transfer Action to the Northern

District of California and the Declaration of Will Ayala in Support of Defendants’ Motion to

Transfer Action to the Northern District of California, filed concurrently herewith, and on the

pleadings and proceedings in this case. Counsel for Defendants contacted Counsel for Plaintiff

on April 3, 2020, but Plaintiff’s Counsel did not agree to a transfer of the case to the Northern

District of California. Defendants hereby request that the Court transfer this action to the




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Northern District of California, San Jose Division, in the interest of justice and for the

convenience of the parties and witnesses.



Dated: April 10, 2020                          WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation


                                               By: /s/ Sheryl Shapiro Bassin
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                                               Attorneys for Defendants Align Technology, Inc.,
                                               Joseph M. Hogan, and John F. Morici




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